FORM ntcdef
REVISED 08/01/2018



                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF ARIZONA

In re:                                                         Case No.: 2:19−bk−11453−MCW

    JEFFREY DOUGLAS HUNT                                       Chapter: 7
    dba JEFF HUNT BAND, LLC
    dba TORNADIC, LLC
    1757 EAST HALE STREET
    MESA, AZ 85203−3914
    SSAN: xxx−xx−2974
    EIN:

    MINDY JANE HUNT
    1757 EAST HALE STREET
    MESA, AZ 85203−3914
    SSAN: xxx−xx−7925
    EIN:

Debtor(s)


               NOTICE TO DEBTOR(S) OF INCOMPLETE OR DEFICIENT FILINGS
                AND THAT DEBTOR(S) MUST FILE ALL REQUIRED DOCUMENTS
              OR THEIR CASE WILL BE DISMISSED WITHOUT FURTHER NOTICE

       NOTICE IS GIVEN THAT the above debtor(s) have filed a voluntary petition and that debtor(s) have not filed
the documents checked below or have filed them without all the required information. Failure to timely file all
required documents with all required information and within the time periods stated will result in the dismissal of this
case.


         A typed list of creditors in the required format of a master mailing list required to be filed within seven days
         of the date of the filing of the bankruptcy petition by Local Rule of Bankruptcy Procedure 1007−1 and
         Federal Rule of Bankruptcy Procedure 1007.


         A verified Statement of Social Security Number required to be submitted within seven days of the date of
         the filing of the bankruptcy petition by Local Rule of Bankruptcy Procedure 1007−1 and Federal Rule of
         Bankruptcy Procedure 1007. Must be filed by both debtors if a joint petition was filed.


         The petition indicates that the briefing from an approved credit counseling agency was received 180 days prior
         to filing and that the certificate of completion was attached. However, the certificate was not attached as
         indicated.


         The petition indicates that the briefing from an approved credit counseling agency was received 180 days prior
         to filing, but that the debtor did not have the certificate of completion at the time of filing. A copy of the
         certificate and payment plan, if any, must be filed within 14 days of the filing of the petition.



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The petition indicates that exigent circumstances exist pursuant to 11 U.S.C. § 109(h)(3); which prevented the
debtor from obtaining credit counseling and that the circumstances merit a temporary waiver, or that the debtor
is not required to receive a briefing about credit counseling pursuant to 11 U.S.C. § 109(h)(4). These indications
require further explanation in the form of a separate sheet or motion.


Schedules of Assets and Liabilities required to be filed within 14 days of the date of the filing of the
bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C. § 521(a)(1).


Statement of Financial Affairs required to be filed within 14 days of the date of the filing of the bankruptcy
petition by Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C. § 521(a)(1).


If a Chapter 7 debtor's schedules of assets and liabilities includes debts which are secured by property of the
estate, then a Statement of Intentions is required to be filed within 30 days after the date of the filing of the
chapter 7 petition or on or before the date of the meeting of creditors, whichever is earlier.


Chapter 7 Statement of Your Current Monthly Income and/or Chapter 7 Means Test Calculation is required to
be filed within 14 days of the date of the filing of the bankruptcy petition by Federal Rule of Bankruptcy
Procedure 1007 and 11 U.S.C. § 521(a)(1). If your debts are not primarily consumer debts, then you must file
the Statement of Exemption from Presumption of Abuse Under 11 U.S.C. § 707(b)(2) with the appropriate box
in Part I checked.


Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period and/or Chapter
13 Calculation of Your Disposable Income is required to be filed within 14 days of the date of the filing of
the bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C. § 521(a)(1).


Chapter 11 Statement of Your Current Monthly Income is required to be filed within 14 days of the date of
the filing of the bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C. §
521(a)(1).


Declaration of Employer Payments with all pay stubs received from any employer in the 60 days before the
filing of the petition required to be filed within 14 days of the date of the filing of the bankruptcy petition
by Local Rule of Bankruptcy Procedure 1007−1 and Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C.
§ 521(a)(1). Must be filed by both debtors if a joint petition was filed.



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     Chapter 13 Plan required to be filed within 14 days of the date of the filing of the bankruptcy petition by
     Federal Rule of Bankruptcy Procedure 3015.


     Declaration Under Penalty of Perjury for Debtors Without an Attorney is required to be filed within 14 days of
     the date of the filing of the bankruptcy petition by Local Rule of Bankruptcy Procedure 1007−1.


     OTHER:



Date: September 10, 2019

Address of the Bankruptcy Clerk's Office:                 Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                         George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000                          By: Sharon G, Deputy Clerk
www.azb.uscourts.gov                                      Phone: 520−202−7532




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         Declaration of Evidence of Employers' Payments Within 60 Days


             Attached hereto are copies of all payment advices, pay stubs or other evidence of payment received by the
             debtor from any employer within 60 days prior to the filing of the petition;


             Debtor has received no payment advices, pay stubs or other evidence of payment from any employer
             within 60 days prior to the filing of the petition; or


             Debtor has received the following payments from employers within 60 days prior to the filing of the
             petition: $__________ .




Debtor declares the foregoing to be true and correct under penalty of perjury.



______________________________________________________________________________
   Signature of Debtor                         Date

If attaching pay stubs or other payment advices, it is your responsibility to redact (black out) any social security
numbers, names of minor children, dates of birth or financial account numbers before attaching them to this
document.


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